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g Dovid. Siacley, Clerk of Court
JOE SHIELDS IN PRO PER

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

JOE SHIELDS CIVIL ACTION No. 3:9O-CV—|e
Plaintiff

vs.

AND PERMANENT INJUNCTIVE
RELIEF

ERIC B. DICK INDIVIDUALLY AND

)
)
)
)
)
) COMPLAINT FOR CIVIL DAMAGES
)
JOHN DOE SPAM TEXT BLASTER )
)
)

Defendant JURY TRIAL REQUESTED

ORIGINAL COMPLAINT

 

Plaintiff Joe Shields brings this action under the Telephone
Consumer Protection Act (hereinafter TCPA), 47 U.S.C. §227, (1991),
the Code of Federal Regulations (hereinafter CFR) implementing the
TCPA, 47 CEFR §64.1200, Texas Business and Commerce Code
(hereinafter “TB&CC”) §305.053 to obtain statutory civil damages,
treble damages, injunctive relief and all other equitable relief
the Plaintiff is entitled to under the TCPA and TB&CCc.

JURISDICTION AND VENUE

 

1. This Court has subject matter jurisdiction over this
action pursuant to 47 U.S.C. §227(b) (3) and 28 USC §1357. Federal

Courts have federal question jurisdiction, 28 USC §1331, because

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, this ,case is about a cause of action created by a federal statute
namely 47 U.S.C. §227 (b) (3). Federal Courts have federal
jurisdiction, 28 USC §1357, because this case is about an injury to
a person under an Act of Congress namely 47 U.S.C. §227.

2. This court has personal jurisdiction over the Defendant
Eric B. Dick because he resides in this district and the violations
and torts were committed on his behalf and under his direction in
this courts district.

3. Venue is proper in this District under 28 USC
§1391(b) (2) because all or a substantial part of the events or
omissions giving rise to the stated claim(s) occurred in Harris
County, Texas.

ARTICLE III STANDING

 

4. Plaintiff has suffered concrete injuries through the
making of an unwanted and unauthorized text message call to
Plaintiff’s cellular telephone number. The Defendant’s unwanted and
unauthorized text message calls invaded Plaintiff’s privacy and
caused the Plaintiff to suffer actual harm, nuisance and
aggravation. Plaintiff was forced to waste precious time in dealing
with the text message call. The unwanted and unauthorized text
message call caused the Plaintiff to suffer lost value of the
cellular services Plaintiff pays for, used up space on Plaintiffs
cell phone and caused the Plaintiff to suffer a loss of the use and

enjoyment of his cell phone. Plaintiff’s injuries include wear and

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, tear, to his phones data, memory, software, hardware and battery
among other harms. Plaintiff's concrete injuries are redressable by
rulings of this Court to grant damages to make Plaintiff whole and
injunctive relief as provided for by law.

PLANTIFFE

5. Plaintiff is an individual residing in Harris County,
Texas. Plaintiff is a cellular telephone subscriber and has had his
current cell phone service and cell number, 281-467-XXXX, since May
of 2006. Plaintiff’s cell phone service has three (3) cell numbers
assigned to it, one for each member of his family. The Plaintiff is
the account holder of the described cell phone service.

6. Prior to the events complained about, Plaintiff did not
have any dealings with the Defendants. Further, Plaintiff never
provided prior express consent to the Defendants or anyone acting
in concert with the Defendants for impersonal text message calls to
be made to Plaintiff’s cellular telephone number. The Plaintiff and
his family share their cell phone numbers with family members and
personal acquaintances only.

7. Plaintiff’s cellular telephone number is in area code
281 which is located within this courts district.

DEFENDANTS

8. Eric B. Dick is an individual (hereinafter “Eric Dick”).

The Defendant Eric Dick is a politician, an attorney and the

Presiding Board President of the Harris County Department of

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. Education. The Defendant Eric Dick may be served by serving him at
his personal residence at 5234 Blossom Street, Houston, Texas
77007-5206 or at his business office at 3701 Brookwoods Drive,
Houston, TX 77092.

9. Defendant John Doe Text Message Blaster (hereinafter
“text message blaster”) provides text message blasting services to
entities that seek to reach massive numbers of cell phone users.
Defendant text message blaster does not provide text messaging
services for individual wireless accounts. Defendant text message
blaster is the entity whose equipment physically made the unwanted
and unauthorized text message call to the Plaintiff on behalf of
and under the direction of the Defendant Eric Dick. Plaintiff
expects that additional text message calls to Plaintiff's and
Plaintiff’s family cell phone numbers will come to light and be
added in an amended complaint.

THE TEXT MESSAGE CALL

10. The cellular telephone network is not a public switched
telephone network (“PSTN”). The telephones used in a PSTN were
predominately owned by the carrier. In a cellular network
individual consumers own the telephones. Thus, unwanted and
unauthorized text message calis intrude upon private property,
invade the privacy of the cell phone owner, inconvenience the
recipients of the text message call who have to deal with it and

take up space on the recipients cell phone which cannot be used for

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, other ,purposes until the space is cleaned up by the cell phone
owner.

ll. The Defendant Eric Dick working in concert with the
Defendant text message blaster used an especially pernicious form
of advertising to promote Defendant Eric Dicks political agenda:
the transmission of unwanted and unauthorized text message calls to
consumer’s cellular telephone numbers throughout southeast Texas
without prior express consent of the recipients of the unwanted and
unauthorized text message calls.

12. The text message call was made en masse to tens of
thousands if not hundreds of thousands of unwilling recipients and
were made by or on behalf of the Defendant Eric Dick and for the
benefit of the Defendant Eric Dick. The unwanted and unauthorized
text message call made to Plaintiff's cellular telephone number was
a generic text message transmitted unchanged and en masse to tens
of thousands if not hundreds of thousands of unwilling recipients.
The unwanted and unauthorized text message call stated:

Hi!:) Im Jen a
volunteer. Its a crime
to feed the poor.

Will you vote for Eric
Dick for City Council
to change that law?
Sign the petition
https://cutt.ly/hou

13. The text message call was made using the telephone

number 832-246-7745. The 832-246-7745 at the time the unwanted and

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_ unauthorized text message call was made was assigned to a company
call Inteliquent Inc. Inteliquent is not a wireless service
provider. Inteliquent provides mass texting capabilities and does
not service individual wireless accounts. Therefore, the unwanted
and unauthorized text message call did not originate from a
personal cell phone but rather from an automated dialer.

14. The Plaintiff texted a reply of “Who is this?” and did
not receive an answer which indicates that no human was on the
other end of the line. After waiting for approximately ten minutes
with still no reply Plaintiff texted “stop” and immediately
received a response that he was unsubscribed from that number
another indication that the text message call was made by an
automated system.

15. The automated system was set up to blast as many of the
same text messages as possible to the purchased cell phone number
list which is exactly what the TPCA prohibits. The same text
message is sent over and over and over again as many as two every
second, The actual dialing of the cell number is an automated
process. And as shone above and as with artificial or prerecorded
voice calls no live conversation occurred between the Plaintiff and
any alleged volunteer.

16. A personal cell phones was not the source of the
unwanted and unauthorized text message call. The text banks

(similar to phone banks) used by the Defendants to make the

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_ unwanted and unauthorized text message calls consist of a software
application and computerized hardware which is ™“..equipment which
has the capacity ~ to store... telephone numbers to be called...
and to dial such numbers.”}

17. Lists of cell phone numbers are purchased by the
Defendants from list brokers and loaded into the text banks. The
uploaded lists automatically populate columns of a dialing list
with telephone numbers and names and whatever information the
Defendants sought to extract from the purchased lists. Alleged
volunteers who are really just “click monkeys” are presented with a
list of numbers which are clicked on 2 every second which starts
the automated dialing procedure. The click monkeys use the text
banks to blast as many repetitive and impersonal text messages as
physically possible. Consequently, the device(s) used by Defendants
to blast thousands if not hundreds of thousands of impersonally
scripted and repetitive text messages meet, in several ways, the
definition of automatic telephone dialing system under the TCPA.

THE TCPA

18. A Text message call is an “automatically dialed call” as
defined by the TCPA, the Federal Communications Commission
(hereinafter “FCC) and all the courts that have had the opportunity

to entertain spam text message call claims. Text message calls are

 

1 The “or” in the statute creates two separate and independent
conditions that define automatic telephone dialing systems.

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..indistinguishable from artificial or prerecorded voice calls. This
is reasonable as no live conversation with the Plaintiff occurred.
The TCPA prohibits making a call using an artificial or prerecorded
voice to cell phone numbers without prior express consent of the
called party. The TCPA’s prohibition on artificial or prerecorded
voice calls to cell phone numbers applies to text message calls as
well.

19. Recently, entities seeking to circumvent the TCPA have
claimed that using a click monkey (or human intervention) removes
the unwanted and unauthorized text message call from the TCPA’s
reach. There is no human intervention exemption in the TCPA. There
are two exemptions: 1. Prior express consent or 2. An emergency
purpose both of which do not apply to the Defendant Camarillo’s
unwanted and unauthorized text message call. The FCC, in a footnote
in an FCC order, has stated that human intervention will be
considered on a case by case basis in FCC enforcement action. The
FCC has never created a “human intervention” exemption from the
TCPA.

20. The proscription on text message calls without consent
of the called party or an emergency purpose applies to all
(emphasis added) text message calls regardless of how the text
message call is made, is received or the merit of the message. That
includes text message calis for political, polling, debt

collection, informational and even charity purposes. Defendant was

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placed on notice about such a proscription in an advisory made
public by the FCC on September 11t8, 2012, March 14t®, 2016 and
again on November 18th. 20162.

21. It should be noted that the above FCC Notice
specifically includes text message calls: “(including autodialed
live calls, prerecorded or artificial voice messages, and _ text
messages)” (emphasis added).

22. The Defendant Eric Dick need not be the one that
actually made the text message call to Plaintiff's cellular
telephone number to be liable for the violation(s) of the TCPA. The
TCPA, the FCC and the courts consider those on whose behalf a
violation of the TCPA occurred to be liable for such violation(s).
This is a wholly reasonable assessment of the statutory schema,
given that Congress found that such calls are an inconvenience, an
invasion of privacy, a threat to public safety and cost the
recipient both time and money. Further, Defendant Eric Dick
authorized the click monkeys to act on his behalf. Defendant Eric
Dick has ratified his liability for the TCPA violations by
accepting the rewards from the unwanted and unauthorized text
message calls.

TEXAS BUSINESS AND COMMERCE CODE

 

 

2 DA-14-1505al Warning Political Campaigns And Promoters Against
Robocall Abuse, DA-16-264al Biennial Reminder For Political
Campaigns About Robocall And Text Abuse And DA-16-1299al Text
Message Senders Must Comply With The Telephone Consumer
Protection Act.

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23. TB&CC §305.053 provides for a separate private right of
action for the receipt of a communication which violates any of the
rules of the TCPA or amy provision under the CFR implementing the
TCPA. Unwanted and unauthorized text message calls made to cellular
telephone numbers without prior express consent of the called party
or an emergency purpose are an invasion of the called party’s
privacy a quantifiable and actionable injury under TB&CC §305.053.
The Texas Statute prohibition on artificial or prerecorded voice
calls without consent of the called party or an emergency purpose
applies to all calls regardless of content.

VIOLATIONS OF THE TCPA

 

24. Plaintiff realleges and incorporates the allegations

above as though fully set forth herein.
Count I

25. On or about September 148, 2019 at or about 03:06 p.m.
an unwanted and unauthorized text message call was made to
Plaintiff’s cellular telephone number 281-467-XXXX. The text
message call was made by or on behalf of the Defendant Eric Dick.
There was never any prior express consent from the Plaintiff for
the Defendant or anyone acting on his behalf to make such text
message call to Plaintiff’s cellular telephone number. Thus the
initiation of such text message call is a violation of 47 U.S.C.
§227(b) (1) (A) (i211) and 47 CFR §64.1200(a) (1) (111).

VIOLATIONS OF THE TB&CC

 

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Count II

26. On or about September 14th, 2019 at or about 03:06 p.m.
an unwanted and unauthorized text message call was made to
Plaintiff’s cellular telephone number 281-467-XXXX. The text
message call was made by or on behalf of the Defendant O’ Rourke.
There was never any prior express consent from the Plaintiff for
such a text message call to be made to Plaintiff’s cellular
telephone number. Thus the initiation of such text message call is
a violation of TB&CC §305.053.

APPLICABLE TO ALL COUNTS

 

27. Plaintiff has suffered actual damages for the invasion
of Plaintiff’s privacy caused by the unwanted and unauthorized text
message calls to his cellular telephone number. The TCPA and TB&CC
each state that an individual may bring a civil action against a
person who violates the TCPA for actual or statutory damages for
each violation of the TCPA. See 47 U.S.C. §227(b) (3) and TB&CC
§305.053. Consequently, Plaintiff hereby seeks statutory damages of
$500.00 for each violation of the TCPA and $500.00 for each
violation of the TB&CC. Thus, Plaintiff seeks $1,000.00 for counts
I (1) through count II (2) for violations of the TCPA and the
TB&CC.

28. Plaintiff additionally alleges that the violations of
the TCPA and TB&CC were done willfully and/or knowingly. Certainly,

the false implication that some volunteer made the text message

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. call from a personal cell phone and therefore the text message call
is exempt from the TCPA exemplifies specific knowledge of the TCPA
and a willful and knowing attempt to circumvent the TCPA. Pursuant
to 47 U.S.C. §227(b) (3) and TBé&CcC §305.053(c) Plaintiff seeks
additional damages in an amount determined by the Court to be equal
to treble the amount found by the Court in accordance with Counts I
and II in paragraph 27 hereof.

PERMANENT INJUNCTIVE RELIEF

 

29. An injunction is a matter of law pursuant to 47 U.S.C.
§227(b) (3) (A), TB&CC §305.053. Plaintiff and members of the public
will benefit from injunctive relief.

30. Plaintiff alleges that Defendant(s) will continue to
irreparably harm Plaintiff and others by continuing to make
unwanted and unauthorized text message calls to Plaintiffs’ and
other members of the public’s cellular telephone numbers without
prior express consent of the called party. Consequently, Plaintiff,
pursuant to 47 U.S.C. §227(b) (3) (A) and TB&CC §305.053 hereby seeks
a permanent injunction barring the Defendants from continuing to
violate the TCPA by:

a. Making or assisting, facilitating,
permitting or causing text message calls to _ the
cellular telephone numbers of members of the public
without 18t obtaining prior express consent of the

recipient of the call regardless of the method used to
make the text message calls.

PRAYER FOR RELIEF

 

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. WHEREFORE, premises considered, Plaintiff prays that the
Defendants be cited to appear and answer herein and that upon
trial hereof Plaintiff recover a judgment of and from the
Defendant for his damages as allowed by law, treble damages, as
allowed by law, injunctive relief as allowed by law, all common
law actual and/or exemplary damages, all costs of court and for
all such other and further relief, at law and in equity, to

which Plaintiff may show himself justly entitled.

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